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                        EXHIBIT B
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                                                                                                              April 28, 2021

 Dear Cruise Industry Colleagues,

 Since April 12, 2021, senior leadership from the Centers for Disease Control and Prevention (CDC) and
 other relevant federal agencies have engaged in twice-weekly meetings with representatives from
 various cruise lines. The objective of these meetings has been to engage in dialogue and exchange
 information with individual cruise line representatives1 regarding the impact of vaccines2 and other
 scientific developments since the Framework for Conditional Sailing Order (CSO) was issued in October
 2020. Participants had the opportunity to ask operational questions about the CSO and CDC’s published
 technical instructions for cruise ships.

 During these discussions, individual cruise line representatives were able to express their concerns as to
 the pace and phases of the CSO, ask questions related to the implementation of the CSO, and reiterate
 their desire to resume cruising as soon as possible. CDC subject matter experts discussed the public
 health challenges of cruising safely and responsibly during a global pandemic, particularly regarding the
 emergence of SARS-CoV-2 variants of concern. These challenges include ensuring cruise ship passenger
 operations are conducted in a way that protects crew, passengers, port personnel, and U.S.
 communities. CDC experts explained the rationale behind certain requirements of the CSO and
 similarities with other requirements and recommendations regarding maritime operations from
 international public health entities.

 We acknowledge that cruising will never be a zero-risk activity and that the goal of the CSO’s phased
 approach is to resume passenger operations in a way that mitigates the risk of COVID-19 transmission
 onboard cruise ships and across port communities. We remain committed to the resumption of
 passenger operations in the United States following the requirements in the CSO by mid-summer, which
 aligns with the goals announced by many major cruise lines. In furtherance of this mutual effort, we
 provide the following clarifications to its Phase 2A technical instructions issued on April 2, 2021.

 We look forward to reviewing plans submitted by the cruise lines for Phase 2A and moving into the next
 phase of the CSO soon.

 Clarifications

 Timeline to resuming passenger operations under the phased approach
    - The 30 calendar day timeframe for the submission to CDC of a cruise ship operator’s notice for
        conducting a simulated voyage and the 60 calendar day timeframe for submission to CDC of the

 1 Cruise industry participants included American Queen Steamboat Company, Bahamas Paradise Cruise Line, Carnival Corporation, Cruise Line
 International Association, Disney Cruise Line, Norwegian Cruise Line Holdings, Royal Caribbean Group, and Viking Cruises.

 2
   As part of these discussions, CDC reviewed CLIA’s vaccine position statement which CDC understands to be that trade group’s current position
 regarding the role of vaccines in restarting cruising.
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         cruise ship operator’s COVID-19 Conditional Sailing Certificate application as set forth in the CSO
         are suggested as guidelines. CDC Maritime Unit will respond to submissions within 5 business
         days. CDC expects to quickly approve applications that are both complete and accurate.
     -   CDC encourages the finalization of the Phase 2A port agreements to allow cruise ships to
         embark non-essential crew for simulated and restricted voyages. Prior to finalization of the
         Phase 2A agreements with port and local health authorities, CDC will allow cruise ships to
         embark 50 percent of the non-essential crew expected to sail on the first restricted voyage. CDC
         expects that a full complement of crew will not be needed for a cruise ship operator to conduct
         a simulated voyage because such simulations may be conducted with a small percentage of
         passengers.

 Phase 2A: Port agreements – General Components
    - In documenting the approval of all U.S. port and local health authorities where the ship intends
        to dock or make port during one or more simulated voyages or restricted passenger voyages,
        the cruise ship operator may enter into a multi-port agreement (as opposed to a single port
        agreement) provided that all relevant port and local health authorities (including the state
        health authorities) are signatories to the agreement. Such multi-port agreements may be
        particularly suitable if one port has limited medical or housing capacity and a nearby port is able
        to supplement these capacities.


 Phase 2A: Port agreements – Vaccination Components
    - In completing the vaccination component of a Phase 2A agreement, including a plan and
        timeline for vaccination of cruise ship crew prior to resuming passenger operations, cruise ship
        operators must disclose and document their current plans to vaccinate crew. This includes if a
        cruise ship operator only plans to encourage crew to be vaccinated on a voluntary basis once
        vaccines become more widely available.
     -   In completing the vaccination component of a Phase 2A agreement, including presentation of
         proposals regarding how the cruise ship operator intends to incorporate vaccination strategies
         to protect passengers, cruise ship operators must disclose and document their current strategy.
         This includes if a cruise ship operator only plans to encourage passengers to be vaccinated on a
         voluntary basis once vaccines become more widely available.

 Phase 2A: Port agreements – Medical and Housing Components
    - In determining the sufficiency of shoreside medical and housing facilities, port authorities and
        local health departments should consider the cruise ship operator’s plan and timeline for
        vaccination of crew and presentation of proposals incorporating vaccination strategies to
        maximally protect passengers. Those cruise ship operators with a clear and specific vaccination
        plan and timeline may have only a limited need for shoreside medical and housing facilities
        compared to operators who only plan or propose to encourage vaccinations.


 Phase 2A: Port agreements – Medical Components
    - CDC acknowledges that shoreside medical facilities and healthcare systems cannot guarantee
        bed capacity. In documenting a cruise ship operator’s contractual arrangement with such
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         facilities or systems, redundant contracts, or contracts allowing for preferential acceptance of
         patients on a space-available basis, will be considered acceptable.


 Phase 2A: Port agreements – Housing Components
    - In determining whether a cruise ship operator has contractual arrangements for shoreside
        housing facilities in sufficient quantities to meet the needs of travelers for isolation or
        quarantine, the parties to a Phase 2A agreement may consider the ability of travelers to use
        their own personal vehicles to return safely to their residences. The parties should consider the
        time needed for travelers to drive to their final destinations to avoid the need for overnight
        stays en route. At a minimum, the health department at the final destination must be notified
        and travelers must be advised to complete their isolation or quarantine at home. For more
        information, please visit CDC’s Interim Guidance for Transporting or Arranging Transportation by
        Air into, from, or within the United States of People with COVID-19 or COVID-19 Exposure
        webpage.
     -   CDC routinely works with state and local health departments and the U.S. Department of
         Homeland Security to prevent travelers from boarding commercial airplanes if they:
            o are known or suspected to have a contagious disease, or
            o were exposed to a contagious disease that poses a threat to the public’s health.
                    ▪ For more information see Travel Restrictions to Prevent the Spread of Disease.
         Accordingly, the parties to a Phase 2A agreement should consider the housing needs of travelers
         who are unable to return to their residences by private vehicle as they will not be permitted to
         board commercial flights.

     -   In documenting that the parties to a Phase 2A agreement have deliberated and jointly
         considered the needs of travelers under quarantine or isolation, including needs relating to
         security and legal considerations to prevent travelers from violating any mandatory isolation or
         quarantine, it is assumed that a government entity may issue an order for mandatory isolation
         or quarantine, and that the cruise ship operator would cooperate with the government entity in
         addressing security needs.
     -   Referencing the requirement that shoreside housing provide separate ventilation systems for all
         travelers who are not part of the household, CDC notes that a standard hotel room with a
         thermostat on the wall or individual air handling unit is an example of housing that would meet
         this requirement.

 We remain committed to providing any requested technical assistance with Phase 2A agreements and
 looks forward to receiving these port agreements from the industry. Any technical questions from the
 cruise ship operators or other relevant stakeholders regarding the Phase 2A port agreements should be
 addressed to eocevent349@cdc.gov.

 We would like to take this opportunity to provide you with our current thinking regarding the following
 possible updates.
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